CaSe: 2205-CV-00976-AL|\/|-TPK DOC #Z 19 Filed: 03/09/06 Page: l Of 9 PAGE|D #Z 203

1"*1¢ ."".
z ;LLD

  

x

IN THE UNITED sTATEs DISTRICT CoUR`:i“ f f
soUTHERN DIsTRICT or 0H10

 

EASTERN DIVISION 1935 wm -q § p ;,_».~. 31 .
KEVIN H. MCKENNA = f 1 ]: *?
= cAsE No. c2 0§~9¢7§»:5
Plainhj§ :
vs. : JUDGE MARBLEY
NESTLE PURINA PETCARE CO. :
: MAGISTRATE JUDGE KEMP
Defendant. :

PLAINTIFF’S MOTION TO PRECLUDE |re: Docket Item |18[| “RESPONSE IN
OPPOSITION FILED BY DEFENDANT NESTLE PURINA PETCARE COMPAN¥”

FILED ON 03/0712006

The PlaintiH` Kevin H. McKenna (Pro-Se) comes before this honorable Court to respectfully
request it Move and Order that the Defendant’s (Nestle Pu,rina PetCare Comp`any) Docket Itern
[18], Titled: “Memorandum in opposition of Defendant Nestle Purina PetCare Cornpany to
Plaintiff’s Motion to Preclude Defenses Material Evidence” be stricken from the Courts Record
and be precluded from the Court’s consideration and the consequent ruling and/or Order on the

“Plaintiff’s Motion to Preclude Defenses Material Evidence” based upon the following facts:

FACTQAL TIME-LINE:
1. February 02, 2006 - Plaintiif Kevin H. McKenna (Pro-Se) files (re: Docket Item [16])
Motion to Preclude. (Please see Attachment A)
2. February 22, 2006
a. Keith Schneider, Counsel for the Defendant requests Plaintiff’s consent to “Agreed

Order 3.6.06”. (Please see Attachment B)

Page10f9

CaSe: 2205-CV-00976-AL|\/|-TPK DOC #Z 19 Filed: 03/09/06 Page: 2 Of 9 PAGE|D #Z 204

b. Plaintiff, Kevin H. McKenna (Pro-Se) willfully and oooperatively agrees and
consents to Keith Schneider’s request to file “Agreed Order 3.6.06”. (Please see
Attachment C)

c. Keith Schneider, Counsel for the Defendant verbally indicates to Plaintiff Kevin H.
McKenna (Pro-Se) during a telephone conversation that the “Agreed Order 3.6.06” is
required to be filed by the end of the day (February 22, 2006).

3. March 01, 2006

a. Plaintiff Kevin H. McKenna (Pro-Se) sends email to both Keith Schneider and J on
Secrest, counsel for the Defendant and cooperativer inquires as to the status of the
apparently tardy and supposedly filed “Agreed Order 3 .6.06” and other outstanding
discovery issues. (Please see Attachment D)

b. Defendant’ s Counsel Keith Schneider apparently then files “Agreed 0rder 3.6.06”.

c. Magistrate lodge P. Terrance liles (re: Docket Item [17] and per “Agreed Order
3 .6.06”) Order that the Defendant f Defendant’s Counsel file Merno in Opposition to
Plaintiff's Motion to Preclude on or before 3/6/06. (Please see Attachment E)

4. March 07, 2006

a. Defendant’s Counsei Keith Schneider files (re: Docket Item [18]) “RESPONSE in
Opposition re [16] MOTION for Order to Preclude Material Evidence filed by
Defendant Nestle Purina PetCa.re Company” (Please see Attachment F)

b. Plaintiff Kevin H. McKenna (Pro-Se) prepares Motion for the Court to defer ruling
and/or grant an extension of time, based upon the Plaintiff’s intent to file a motion for
the Court to impose FRCP RULE Il(c)(l)(A) sanctions against the Defendant/

Defendants Counsei for FRCP RULE l 1(b)(3) violations for statements within the

Page 2 of 9

CaSe: 2205-CV-OO976-AL|\/|-TPK DOC #Z 19 Filed: 03/09/06 Page: 3 Of 9 PAGE|D #Z 205

pleading which are scandalous and without evidentiary support within (re: Docket
Item[l 8]) “RESPONSE in Opposition re [16] MOTION for Order to Preclude
Material Evidence filed by Defendant Nestle Purina PetCare Company”. (Please see
Attaehment G)
c. Plaintiff Kevin H. McKenna (Pro-Se) notices (re: Docket Item [18]) the “Filed and
Entered” entry of “03/07/2006”.
d. Plaintiff Kevin H. McKenna (Pro-Se) confers closely with Danise M. Spencer at the
United States District Court Southern District of Ohio Eastern Division, Clerk of
Coults OHice to:
i. Verify, certify and substantiate the integrity and accuracy of the time stamp
Clerk’s time stamp; Ms. Spencer accordingly substantiates the integrity and
accuracy of the entry time Stamp(ing).
ii. Verify that Docket Item [17], Order as entered by Magistrate Judge Terrance
P. Kemp states that the Defendantfl`le Memo in Opposition to Plaintiil‘s
Motion to Preclude on or before 3/6/06, and does not state the Defendant
serve the Merno on or before 3/6/06; Ms. Spencer accordingly substantiates
that Docket Item [17], Order as entered by Magistrate Judge Terrance P.
Kemp states that the Defendantfile the Memo on or before 3/6/06
SUPPORT]NG ARGUME_!§T:
The Plaintiff Kevin I-I. McKenna (Pro‘Se) comes before this honorable Court to respectfully
request it move and order that the Defendant’s (Nestle Purina PetCare Company) Docket Item
[18], Titled: “Mernorandum in opposition of Defendant Nestle Purina PetCare Company to -

Plaintitf’ s Motion to Preclude Defenses Material Evidence” be stricken B'oin the Courts Record

Page 3 of 9

CaSe: 2205-CV-00976-AL|\/|-TPK DOC #Z 19 Filed: 03/09/06 Page: 4 Of 9 PAGE|D #Z 206

and be precluded from the Court’s consideration and the consequent ruling and/or 0rder on the
“Plaintiff’s Motion to Preclude Defenses Material Evidence” for no less than the following

TERSODSZ

1. The Defendant / Defendant’s Counsel are incontestably in contempt of this Court, breaching
the integrity and dignity of this Court’s proceedings and breaching this Court’s authority for
no less than the following reasons:

a. Defendant f Defendant’s Counsel have incontestany not complied (re: Docket Item
[18] and accompanying time stamp (Please see Attachment F)) With a direct order of
this Court (re: Docket Item [1'7] (Please see Attachment E)). Given the physical
proximity/address of the Defendants Offices (re: 250 Civic Center Drive, Columbus,
Ohio (less than one mile)) to this Courts location, and even allowing for any potential
but unlikely technical hurdles within Electronic Filing, the Defendant’s Counsel
untimely filing and noncompliance with an express Court Order is inexcusable

b. Defendant / Defendant’s Counsel failed to make timely Electronic Service (as
allowed for in RULE 5 of the FRCP) of their Memorandum and accompanying
“Certiiicate of Service” to the Plaintiff’s email address of
lunckenn@colurnbus.rr.coln. Defendant l Defendant’s Counsel has at the same time
expressly demonstrated that Defendant’s Counsel and the Plaintiff fluently and
regularly converse by electronic mail by including an electronic mail exchange
between the Defendant’s Counsel and the Plaintiff “Exhibit A” as an attachment to
the Defendant’s Memorandurn. The Defendants Counsel further demonstrated their

capability to communicate in a reliable and timely manner with the Plaintiff on

Page 4 of9

CaSe: 2205-CV-00976-AL|\/|-TPK DOC #Z 19 Filed: 03/09/06 Page: 5 Of 9 PAGE|D #Z 207

February 22, 2006 in regards to “Agreed Order 3.6.06”, and since that date in
numerous communications between the Plaintiff and themselves (Please see
Attachment H).

c. The Defendant / Defendant’s Counsel (re: Docket Item [18] and associated time
stamp) may have falsified the “Certiiicate of Service” (Please see Attachment F) as a
misrepresentation to this Court, as a ploy and pretext to show that the Defendant /
Defendant’s Counscl Was compliant With (re: Docket Item [17]) this Courts Order to
file its Memorandum on or before March 06, 2006.

d. The Defendant/ Defendant’s Counsel may have divisiver utilized land mail for
service of the (re: Docket Item [18]) Memorandum to abuse and exploit the 3 day
allowance (as allowed for in RULE 5 of the FRCP), in a calculated ploy and pretext
to hide the otherwise untimely/non-compliant filing with this Court, this Courts Order
and required service upon the Piaintiff.

e. The Defendant l Defendant’s Counsel have, with apparent malicious intent, made no
less than one (the Plaintiff as a first person witness, can create a list of statements
which are not possible to gain evidentiary support) false representation to this Court
in direct violation of RULE ll(b)(3) (where it explicitly states that, “By presenting to
the court (whether by signing filing submitting or later advocating) a pleading
written motion, or other paper, an attorney or unrepresented party is certifving that
to the best of the person ’s knowledge informationl and belief formed after an inquiry
reasonable under the circumstances »- (3) the allegations and other factual
contentions have evidentiary support...”). Within the contents of (re: Docket Item

[18]), within the section titled “Statement of Facts” (re: page 3 of 10, paragraph 3

Page 5 of 9

 

CaSe: 2205-CV-00976-AL|\/|-TPK DOC #Z 19 Filed: 03/09/06 Page: 6 Of 9 PAGE|D #Z 208

(prefaced with “On or about September'24, 2004”), last sentence) the Defendant/
Defendant’s Counsel contends as a statement of “t`act” that “HR immediately
suspended Ms. Goss pending further investigation."’. This contention stated as factual
within this document is not an errant contention, as it substantiates the claim and/or
factual contention that the Defendant / Defendant’s Counsel voluntarily and expressly
“adrnitted” to within the Defendants (re: Docket Item [8]) “Answer to Cornplaint” (re:
Section titled “First Defense”, Item #4), where it expressly states, “4. Nestle admits
that on or about Seprember 24, 2004, Ms. Kagenski met with Plaint:]?" regarding Ms.
Goss and a letter Ms. Goss sent to Ms. Lisc Ellz’s. On this same date, Nestle
suspended Ms. Goss pending further investigation ”. rl`he Defendant l Defendant’s
Counsel knows that the Defendant had in fact never suspended Ms. Goss, on
Septernber 24, 2004 nor any other date.' This claim that Ms. Goss was never
suspended, can be substantiated by a) this Plaintiff’ s personal witness to the events
and b) more significantly, incontrovertible, documented evidence of Ms. Goss’s
presence through the course of the normal workday on October l, 2004 @ 1:15PM.
This aforementioned incontrovertible and documented evidence is and always has
been in the control and possession of the Defendant (as though they actually need a
“docurnent” for them to know what they did), and Defendant / Defendant’s Counsel
disclosed this evidence to the Plaintif’f Kevin H. McKenna on Wednesday, March 01,
2006 (Please see Attachment I).

2. The Defendant / Defendant’s Counsel may have, with malicious and divisive intent, included

the content of the section titled “Statement of Facts” within their memorandum as a ploy to

leverage, force or otherwise coerce this Court “no choice” but to Rule on the (re: Docket

Page 6 of 9

CaSe: 2205-CV-OO976-AL|\/|-TPK DOC #Z 19 Filed: 03/09/06 Page: 7 Of 9 PAGE|D #Z 209

Item [16]) “Plaintifi’s Motion to Preclude” favorably to the Defendant by forcing and
otherwise introducing the otherwise inadmissible evidence within the body of the
Memorandum. This malicious, divisive ploy (IE - “stnnt”), has for all practical and apparent
purposes, design and intent with an attempt to make a mockery of this Court, exploit the fact
that the Plaintitf is a Pro-Se litigant, and attempt to make a mockery of the “Pro-Se” Plaintiff.
3. The Defendant has made a mockery of the Plaintiff since the first day the Plaintiff attempted
to assert his Rights as afforded him by the Laws of this land by complaining of the atrocious
work environment imposed upon him. The Defendant has made a mockery of the Plaintiff by
retaliating against him by terminating his employment The Defendant has made a mockery
of the Plaintiff by hiding/asserting to the Plaintiff and Authorities that the Plaintiff was never
harassed and never complained (but yet the Defendant contends that the Plaintiff requested to
“withdraw” the very complaint that the Defendant contends the Plaintiff never made. The law
of common sense states you can’t have your caice, and eat it too). The Defendant/
Defendant’s Counsel has made a mockery of the Plaintiff and the Administrative Process
afforded by Title VII, by making greatly exaggerated false and malicious contentions and/or
statements (IE _ told a “Whopper”) to the Equal Employment Opportunity Commission
where it went uncontested.' This Plaintiff knows and truly understands that all of these
aforementioned atrocities unjustly imposed upon the Plaintiff and all resulting aspects of his
life are outside the control and/or jurisdiction of this honorable Court. However, the
Defendant’s contemptuous demeanor and attempts to make a mockery of the Plaintiff’ s
opposition to the Defendant’s unlawful acts have now incontrovertiny tainted this Court and

these proceedings, which are within this Courts Jurisdiction and control.

Page 7 of9

CaSe: 2205-CV-00976-AL|\/|-TPK DOC #Z 19 Filed: 03/09/06 Page: 8 Of 9 PAGE|D #Z 210

QONCLUSION:

The Defendant / Defendant’s Counsel’s opposition to the Plaintiffs motion to preclude would
have been equally, if not more effective in its representation to this Court absent the malicious
and scandalous statements represented within the section titled “Statement of Facts”. However,
this contemptuous act on the behalf of the Defendant / Defendant’s Counsel has been executed,
cannot be undone, and lives forever as a matter of fact in history. The apparently willful and
intentional action(s) in incontrovertible violation of RULE ll(b)(l) and RULE ll(b)(3) of the
FRCP are an atrocity unjustly imposed upon these proceedings and the Plaintiff. The
Defendant’s Counsel is incontrovertiny noncompliant to a direct Court Order. The Defendant’s
Counsel is highly suspect of falsifying the corresponding “Certifrcate of Service". These actions
perpetrated by the Defendant / Defendant’s Counsel leaves an extremely poor impression upon
this Pro-Se litigant who is otherwise a member the general public, of how legal counsel conducts

itself within the affairs and proceedings of the highest Courts in these United States of America.

For no less than all of the foregoing reasons, the Plaintiff Kevin I-l. McKenna (Pro-Se)
respectfully requests this honorable Court Move and Order that the Defendant’s (Nestle Purina
PetCare Company) Docket Item [18], Titled: “Memorandum in opposition of Defendant Nestle
Purina PetCare Company to Plaintiff’s Motion to Preclude Defenses Material Evidence” be
stricken from the Courts Record and be precluded from the honor and dignity of this Court’s
consideration and the consequent ruling and/or Order on the “Plaintifl’s Motion to Preclude

Defenses Material Evidence”.

Page 8 of9

CaSe: 2205-CV-OO976-AL|\/|-TPK DOC #Z 19 Filed: 03/09/06 Page: 9 Of 9 PAGE|D #Z 211

The Plaintiff Kevin H. McKenna (Pro-Se) also respectftu requests this honorable Court
consider imposing any measures, actions it deems appropriate, so as to strongly deter any future
actions or deeds that may otherwise undermine or make a mockery of this Court, these

proceedings, or any of the parties involved, past, present or future.

With all due and genuine respect, I thank this Court for the time and attention this unfortunate

matter has consumed

 

 

4885 Adamsvine noia
Zanesville, Ohio 43701
(740)452-3124

CERTIFICA'I`E OF SERVICE

The undersigned hereby certifies that a true and accurate copy of the foregoing was served, via
hand delivery to the address belcw, this 9th day of March 2006, to the address(s) within the
following:

Keith W. Schneider (#0041616)
Jonathan R. Secrest (#0075445)
250 Civic Center Drive, Suite 500
Columbus, Ohio 43215

    

 

 

krnckenn columbus.rr.com
4885 Adarnsville Road
Zanesville, Ohio 43701
(740)452~3 124

Kevin H. cK n lintiff/i'ro §e)

Page 9 of 9

